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                                                                 8                             UNITED STATES DISTRICT COURT
                                                                 9                                   Northern District of California
                                                                 10   Kuyat,                                              07-05691 PVT MED
United States District Court




                                                                 11                         Plaintiff(s),                 Notice of Appointment of Mediator
                               Northern District of California




                                                                 12            v.
                                                                 13   USAA Insurance Agency, Inc.,
                                                                 14                         Defendant(s).
                                                                 15   TO COUNSEL OF RECORD:
                                                                 16            The court notifies the parties and counsel that the Mediator assigned to this case
                                                                 17   is:
                                                                 18                                    Laurence Paradis
                                                                                                       Disability Rights Advocates
                                                                 19                                    2001 Center St., 3rd Fl.
                                                                                                       Berkeley, CA 94704
                                                                 20                                    510-665-8644
                                                                 21            Counsel shall familiarize themselves with the requirements of ADR L.R. 6 which
                                                                 22   governs the Mediation program. The mediator will schedule a joint phone conference
                                                                 23   with counsel under ADR L.R. 6-6 and will set the date of the mediation session within
                                                                 24   the deadlines set by ADR L.R. 6-4 or the court order referring this action to mediation.
                                                                 25   The court permits the mediator to charge each party its pro rata share of the cost of the
                                                                 26   phone conference.
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                                                                      Notice of Appointment of Mediator
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                                                                 1           Counsel are reminded that the written mediation statements required by the ADR
                                                                 2    L.R. 6-7 shall NOT be filed with the court.
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                                                                 4    Dated: February 20, 2008
                                                                 5                                                        RICHARD W. WIEKING
                                                                                                                          Clerk
                                                                 6                                                        by:   Claudia M. Forehand
                                                                 7
                                                                 8                                                        ADR Case Administrator
                                                                                                                          415-522-2059
                                                                 9                                                        Claudia_Forehand@cand.uscourts.gov
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United States District Court




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                               Northern District of California




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